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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE:      Sean Crawford                              Case No.: 23-10866-pmm
             Debtor
                                                        Chapter: 13
             SN Servicing Corporation as servicer
             for U.S. Bank Trust National               Judge: Patricia M. Mayer
             Association, as Trustee of Dwelling
             Series IV Trust
             v.

             Sean Crawford
             Kenneth E. West - Trustee
                           Respondents

                CERTIFICATE OF SERVICE OF POST PETITION FEE NOTICE

        The undersigned counsel for SN Servicing Corporation as servicer for U.S. Bank Trust National
Association, as Trustee of Dwelling Series IV Trust (“Secured Creditor”) certify that, on the date stated
hereon, I caused to be served a copy of the Post Petition Fee Notice filed on behalf of Secured Creditor
on the parties in the manner specified on the attached service list.

        The type(s) of service made on the parties was: electronic notification or first-class mail, postage
pre-paid. Where service is by electronic notification, the address of the party is listed for identification
purposes only.

EXECUTED ON: June 5, 2024
                                                           FRIEDMAN VARTOLO, LLP.

                                                           By: /s/ Lauren M. Moyer
                                                            Lauren MMoyer, Esq.
                                                           Friedman Vartolo LLP
                                                           1325 Franklin Avenue, Suite 160
                                                           Garden City, New York 11530
                                                           T: (212) 471-5100
                                                           F: (212) 471-5150
                                                           Bankruptcy@FriedmanVartolo.com
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     Service by NEF

     Trustee
     KENNETH E. WEST
     Office of the Chapter 13 Standing Trustee
     1234 Market Street - Suite 1813
     Philadelphia, PA 19107

     Debtor’s Counsel
     MICHAEL A. CIBIK
     Cibik Law, P.C.
     1500 Walnut Street
     Suite 900
     Philadelphia, PA 19102

     U.S. Trustee
     United States Trustee
     Office of the U.S. Trustee
     Robert N.C. Nix Federal Building
     Suite 320
     Philadelphia, PA 19107


     Service by First-Class Mail

     Debtor
     Sean Crawford
     1320 72nd Avenue
     Philadelphia, PA 19126-1724
